       Case 1:20-cr-00010-JAJ-CFB Document 91 Filed 10/08/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA
                                WESTERN DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                               No. 1:20cr00010-01-JAJ
 vs.
                                                 ORDER ACCEPTING MAGISTRATE
 CASEY RAY GANTT,                                    JUDGE'S REPORT AND
                Defendant.                       RECOMMENDATION REGARDING
                                                   DEFENDANT'S GUILTY PLEA

                       I.    INTRODUCTION AND BACKGROUND

       On February 25, 2020, an Indictment was returned against defendant Casey Ray
Gantt, charging him with conspiracy to distribute a controlled substance, in violation of 21
U.S.C. §§ 846 and 841(b)(1)(A) and possession with intent to distribute a controlled
substance, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A).      On September 21,
2020, defendant appeared before Chief United States Magistrate Judge Helen C. Adams
and entered a plea of guilty to Count 2 of the Indictment.   On this same date, Judge Adams
filed a Report and Recommendation in which she recommends that defendant's guilty plea
be accepted.    No objections to Judge Adams' Report and Recommendation were filed.
The court, therefore, undertakes the necessary review of Judge Adams' recommendation to
accept defendant's plea in this case.
                                        II.   ANALYSIS
       Pursuant to statute, this court's standard of review for a magistrate judge's Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the
               findings or recommendations made by the magistrate [judge].
       Case 1:20-cr-00010-JAJ-CFB Document 91 Filed 10/08/20 Page 2 of 2




28 U.S.C. § 636(b)(1).      Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge's Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district court must determine de novo any part of the
              magistrate judge’s disposition that has been properly objected
              to. The district judge may accept, reject, or modify the
              recommended decision; receive further evidence; or return the
              matter to the magistrate judge with instructions.

FED. R. CIV. P. 72(b)(3).   In this case, no objections have been filed, and it appears to the
court upon review of Judge Adams' findings and conclusions, that there is no ground to
reject or modify them.        Therefore, the court accepts Judge Adams' Report and
Recommendation of September 21, 2020, and accepts defendant's plea of guilty in this case
to Count 2 of the Indictment.
       IT IS ORDERED.
       DATED this 8th day of October, 2020.




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